Case 1:20-cv-03010-APM Document 881-11 Filed 04/10/24 Page 1 of 11




             EXHIBIT 10
         (Public-Redacted)
Case 1:20-cv-03010-APM Document 881-11 Filed 04/10/24 Page 2 of 11
Case 1:20-cv-03010-APM Document 881-11 Filed 04/10/24 Page 3 of 11
Case 1:20-cv-03010-APM Document 881-11 Filed 04/10/24 Page 4 of 11
Case 1:20-cv-03010-APM Document 881-11 Filed 04/10/24 Page 5 of 11
Case 1:20-cv-03010-APM Document 881-11 Filed 04/10/24 Page 6 of 11
Case 1:20-cv-03010-APM Document 881-11 Filed 04/10/24 Page 7 of 11
Case 1:20-cv-03010-APM Document 881-11 Filed 04/10/24 Page 8 of 11
           Case 1:20-cv-03010-APM Document 881-11 Filed 04/10/24 Page 9 of 11
REDACTED




                                          DX0679.008
           Case 1:20-cv-03010-APM Document 881-11 Filed 04/10/24 Page 10 of 11
REDACTED




                                          DX0679.009
REDACTED   Case 1:20-cv-03010-APM Document 881-11 Filed 04/10/24 Page 11 of 11




                                          DX0679.010
